


  T0 ORDER DENYING CERTIORARI AND APPROVING OFFICIAL PUBLICATION
 

  1 1 Petitioner's petition for certiorari to the Oklahoma Court of Civil Appeals is DENIED.
 

  T2 The motion by Respondent, Peggy L. Roberts, for the opinion of the Court of Civil Appeals to be published in the official reporter and accorded precedential value is GRANTED.
 

  T3 The opinion of the Oklahoma Court of Civil Appeals herein filed on July 7, 2010, is approved by the Oklahoma Supreme Court for publication in the official reporter and shall be accorded precedential value. 20 0.8. 2001 30.5; 12 0.98.2001 Ch. 15, App. 1, Okla. Sup.Ct. R. 1.200(c).
 

  T4 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 25TH DAY OF OCTOBER, 2010.
 

  CONCUR: EDMONDSON, C.J., KAUGER, WATT, COLBERT, REIF, JJ.
 

  DISSENT: TAYLOR, V.C.J., HARGRAVE, WINCHESTER, JJ.
 
